
In re Norfolk Southern Corp., et al.; Norfolk Southern Railway Co.; Norfolk and Western Railway Co.; Alabama Great Southern Railroad Co.; Southern Region Industrial Realty, Inc.; Central of Georgia Railroad Co.; Cincinnati Pacific Railway Co.; New Orleans Pacific Railway, Co.; Texas Pacific Railway Co.; — Plaintiffis); Applying for Writ of Certiorari and/or Review, Parish of E. Baton Rouge, 19th Judicial District Court Div. D, No. 410-025; to the Court of Appeal, First Circuit, No(s). 2002 CA 2696, 2003 CA 0110.
Denied.
